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             IN THE UNITED STATES DISTRICT COURT FOR THl
                         WESTERN DISTRICT OF OKLAHOMA                         NOV 0 8 2017
                                                                      CARI^LITA REEDER SHINN. CLERK
UNITED STATES OF AMERICA,                                                                    5T.0KU
                                                                                             iDEPUTY

                       Plaintiff,
                                                                             c w §
              -vs-                                  No.


TIMATRESS TENAKA CADE,                              Xiolations:   18 U.S.C. § 1343
  a/k/a Timatress Tenaka Barnes,                                  18 U.S.C. § 1014
  a/k/a Tenaka Barnes,                                            42 U.S.C. § 408(a)(7)(B)

                       Defendant.


                                    INDICTMENT



The Federal Grand Jury charges:

                                        Introduction


At all times relevant to this Indictment:


       1.     Consumer reporting agencies, or CRAs, are businesses that collect and

aggregate credit information about individuals into credit reports, which are used by

banks, credit unions, credit card issuers, and other lenders for the purpose of evaluating

the credit-worthiness of a prospective borrower. TransUnion LLC ("TransUnion") and

Experian Information Solutions, Inc. ("Experian") are two of the largest CRAs in the

United States.


       2.        CRAs like TransUnion and Experian prepare credit reports by collecting

tradelines, or detailed information regarding each line of credit extended to a particular
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